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        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA


ERIN SMITH
c/o Goodwin Weber PLLC                       *
267 Kentlands Blvd #250                      *
Gaithersburg, MD 20878                       *
       Plaintiff                             *
-vs-                                         *
                                             *      CASE NO: 1:21-CV-2170
TAYLOR F. TARANTO                    .       *
1311 N. Beech Ave.                           *
Pasco, WA 99301                              *
                                             *
       Defendant(s), Pro Se.                 *


                   MOTION FOR EXTENSION OF TIME TO ANSWER

       Defendant, Taylor F. Taranto, pro se, respectfully requests an order granting defendants,

pro se, an additional 30 days in which to move, plead or otherwise respond to the Plaintiff’s

Complaint. I am looking for an attorney who can assist in this case.


Opposing Counsel has been properly notified of this request.


                                             Respectfully submitted,

                                             /s/ Taylor F. Taranto
                                             Taylor F. Taranto, pro se
                                             Address: 1311 N. Beech Ave., Pasco, WA 99301
                                             Telephone: 509-430-2339
                                             Email: tft122@msn.com
                                             Defendant, pro se
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                               CERTIFICATE OF SERVICE



       I hereby certify that a true and correct copy of the foregoing MOTION FOR EXTENTION

OF TIME TO ANSWER was served by first-class mail, postage prepaid, on the 3rd day of

September, 2021, upon:

                             David P. Weber

                             Goodwin Weber PLLC

                             267 Kentlands Blvd., Suite 250

                             Gaithersburg, MD 20878



                                           Respectfully,

                                           /s/ Taylor F. Taranto
                                           Taylor F. Taranto, pro se
                                           Address: 1311 N. Beech Ave., Pasco, WA 99301
                                           Telephone: 509-430-2339
                                           Email: tft122@msn.com
                                           Defendant, pro se
